                                                                                                                           Print Form
                         Case 1:10-cv-00881 Document 6                      Filed 03/23/10 Page 1 of 2
(Revised 06/08)
                         United States District Court Northern District of Illinois
                         MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                         Plantiff(s)
                  United States ex. rel. Zojo Solutions, Inc.

                                               VS.

                  Leviton Manufacturing Co., Inc.                                                                   Defendant(s)


Case Number: 10-cv-00881                                                    Judge: John F. Grady


I,                                           Larry L. Shatzer                                               hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

                     Defendant Leviton Manufacturing Co., Inc.                                     by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                         Date Admitted
Tennessee Court of Appeals                                                                                          12/9/87
District of Columbia Court of Appeals                                                                               5/31/89
U.S. Supreme Court                                                                                                  11/30/92

U.S. Court of Appeals for the Federal Circuit                                                                       11/3/89

I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes                   No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
                         Case 1:10-cv-00881 Document 6                     Filed 03/23/10 Page 2 of 2
Has the applicant ever been:
censured, suspended, disbarred, or witherwise disciplined by any
court?                                                                               Yes                   No

or is the applicant currently the subject of an investigation of the
                                                                                     Yes                   No
applicant's professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of nay court?                                                                    Yes                  No

denied admission to the bar of any court?                                            Yes                  No

held in contempt of court?                                                           Yes                  No

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant's current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant's conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois, effective November 12, 1991 (Local Rules 83.50
through 83.58), and the Standards for Professional Conduct within the Seventh Federal Judicial Circuit, effective December 15, 1992,
and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and correct.


           Mar 23, 2010                                 S/   Larry L. Shatzer

                 Date                                              Electronic Signature of Applicant

                            Last Name                                        First Name                            Middle Name/Initial
Applicant's Name
                               Shatzer                                        Larry                                 L.

Applicant's Law Firm           Foley & Lardner

                            Street Address                                                                         Room/Suite Number
Applicant's Address
                               3000 K. Street, N.W.                                                                600

                            City                        State                ZIP Code            Work Phone Number
                             Washington                 DC                    20007                             202-672-5568

(The pro hac vice admission fee is $100.00 for cases filed before February 1, 2001, and $50.00 for cases filed on or after that
date, and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of the
      Court. The fee for admission to the General Bar is $150.00 The fee for pro hac vice admission is $100.00 for cases filed
      before February 1, 2001, and $50.00 for cases filed on or after that date. Admission to the general bar permits an attorney
      to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case only. Application
      for such admission must be made in each case; and the admission fee must be paid in each case.
